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                   323 FIFTH STREET                                                                                                 (800) 603-0836
                   EUREKA CA 95501                                                                           Para Español, Ext. 2660, 2643 o 2772
                                                                                                                 8:00 a.m. - 5:00 p.m. Pacific Time
                                                                                                                         Main Office NMLS #5985
                                                                                                                       Branch Office NMLS #9785




               DARRYL W CROOMS
               C/O LEOTIS WILLIAMS
               PO BOX 28244
               BIRMINGHAM AL 35228


Analysis Date: August 20, 2021                                                                                                                           Final
Property Address: 1420 27TH STREET ENSLEY BIRMINGHAM, AL 35218                                                                         Loan:
                                      Annual Escrow Account Disclosure Statement
                                                   Account History

      This is a statement of actual activity in your escrow account from Oct 2020 to Sept 2021. Last year's anticipated activity
      (payments to and from your escrow account) is next to the actual activity.

Payment Information                   Current:      Effective Oct 03, 2021:                  Escrow Balance Calculation
 Principal & Interest Pmt:                  674.15                  674.15                   Due Date:                                       Aug 03, 2021
 Escrow Payment:                            125.43                  132.77                   Escrow Balance:                                      179.05
 Other Funds Payment:                          0.00                    0.00                  Anticipated Pmts to Escrow:                          250.86
 Assistance Payment (-):                       0.00                    0.00                  Anticipated Pmts from Escrow (-):                       0.00
 Reserve Acct Payment:                         0.00                    0.00                  Anticipated Escrow Balance:                          $429.91
  Total Payment:                              $799.58                    $806.92


                      Payments to Escrow            Payments From Escrow                                        Escrow Balance
       Date           Anticipated   Actual          Anticipated     Actual             Description              Required       Actual
                                                                                  Starting Balance           499.61               (298.42)
      Oct 2020            124.91                                             *                               624.52               (298.42)
      Nov 2020            124.91        123.14                               *                               749.43               (175.28)
      Nov 2020                          456.20                               *    Escrow Only Payment        749.43                280.92
      Nov 2020                                                        460.30 *    County Tax                 749.43               (179.38)
      Dec 2020            124.91                         460.30              *    County Tax                 414.04               (179.38)
      Jan 2021            124.91        123.14                               *                               538.95                (56.24)
      Jan 2021                           38.08                               *    Escrow Only Payment        538.95                (18.16)
      Feb 2021            124.91                                             *                               663.86                (18.16)
      Mar 2021            124.91        752.58                               *                               788.77                734.42
      Apr 2021            124.91        125.43                               *                               913.68                859.85
      May 2021            124.91        125.43                               *                             1,038.59                985.28
      Jun 2021            124.91        125.43                               *                             1,163.50              1,110.71
      Jul 2021            124.91        125.43        1,038.59      1,057.09 *    Homeowners Policy          249.82                179.05
      Aug 2021            124.91                                             *                               374.73                179.05
      Sep 2021            124.91                                             *                               499.64                179.05
                                                                                  Anticipated Transactions   499.64                179.05
      Aug 2021                     125.43                                                                                          304.48
      Sep 2021                     125.43                                                                                          429.91
                      $1,498.92 $2,245.72           $1,498.89      $1,517.39

      An asterisk (*) indicates a difference from a previous estimate either in the date or the amount. If you want a further explanation, please call
      our toll-free number.

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Last year, we anticipated that payments from your account would be made during this period equaling 1,498.89. Under
Federal law, your lowest monthly balance should not have exceeded 249.82 or 1/6 of the anticipated payment from the
account, unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are
silent on this issue.




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Analysis Date: August 20, 2021                                                                                                                    Final
Borrower: DARRYL W CROOMS                                                                                                           Loan:
                                                Annual Escrow Account Disclosure Statement
                                                       Projections for Coming Year

      This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and
      from your account.

        Date              Anticipated Payments                                                                  Escrow Balance
                          To Escrow From Escrow               Description                                 Anticipated      Required
                                                              Starting Balance                               429.91          505.79
      Oct 2021              126.45                                                                           556.36          632.24
      Nov 2021              126.45                                                                           682.81          758.69
      Dec 2021              126.45           460.30           County Tax                                     348.96          424.84
      Jan 2022              126.45                                                                           475.41          551.29
      Feb 2022              126.45                                                                           601.86          677.74
      Mar 2022              126.45                                                                           728.31          804.19
      Apr 2022              126.45                                                                           854.76          930.64
      May 2022              126.45                                                                           981.21        1,057.09
      Jun 2022              126.45                                                                         1,107.66        1,183.54
      Jul 2022              126.45        1,057.09            Homeowners Policy                              177.02          252.90
      Aug 2022              126.45                                                                           303.47          379.35
      Sep 2022              126.45                                                                           429.92          505.80
                         $1,517.40       $1,517.39

     (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)
      Your escrow balance contains a cushion of 252.90. A cushion is an additional amount of funds held in your escrow
      balance to prevent the balance from becoming overdrawn when an increase in the disbursement amount occurs. Under
      Federal law, your lowest monthly balance should not exceed 252.90 or 1/6 of the anticipated payment from the account,
      unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are silent on
      this issue.

      Your ending balance from the last month of the account history (escrow balance anticipated) is 429.91. Your starting
      balance (escrow balance required) according to this analysis should be $505.79. This means you have a shortage of 75.88.
      This shortage may be collected from you over a period of 12 months or more unless the shortage is less than 1 month's
      deposit, in which case we have the additional option of requesting payment within 30 days. We have decided to collect it over 12
      months.

      We anticipate the total of your coming year bills to be 1,517.39. We divide that amount by the number of payments expected during
      the coming year to obtain your escrow payment.




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Analysis Date: August 20, 2021                                                                                                        Final
Borrower: DARRYL W CROOMS                                                                                               Loan:

                                                                  Paying the shortage: If your shortage is paid in full, your new
      New Escrow Payment Calculation
                                                                  monthly payment will be $800.60 (calculated by subtracting the
      Unadjusted Escrow Payment                     126.45
                                                                  Shortage Amount to the left and rounding, if applicable). Paying the
      Surplus Amount:                                 0.00
                                                                  shortage does not guarantee that your payment will remain the same, as
      Shortage Amount:                                6.32
                                                                  your tax or insurance bills may have changed. If you would like to pay
      Rounding Adjustment Amount:                     0.00
                                                                  the shortage now, please pay the entire amount of the shortage before
      Escrow Payment:                              $132.77
                                                                  the effective date of your new payment. To ensure that the funds are
                                                                  posted to your account correctly, please notify your asset manager that
                                                                  you are paying the shortage.

    NOTICE OF RIGHT TO CANCEL PRIVATE MORTGAGE INSURANCE: If you currently pay private mortgage insurance
    premiums, you may have the right to cancel the insurance. In most cases, you have the right to cancel private mortgage insurance if
    the principal balance of your loan is 80 percent or less of the current fair market appraised value of your home, and you have a good
    payment history on your loan. If you want to learn whether you are eligible to cancel this insurance, please contact us at 323 Fifth
    Street, Eureka, Ca 95501 or 800-603-0836.

 * Please note if you have autopay/EFT set up on your loan, it is your responsibility to make sure your payment amount is
 updated. Enclosed is the EFT form that needs to be completed. Once completed, please fax to the number listed on the EFT form
 or return in the self-addressed envelope.




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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ALABAMA
                                 BIRMINGHAM DIVISION

 In Re:                                           Case No. 19-02072-DSC13

 Darryl W. Crooms                                 Chapter 13

 Debtor.                                          Judge D. Sims Crawford

                                  CERTIFICATE OF SERVICE

I certify that on September 1, 2021, a copy of the foregoing Notice of Mortgage Payment Change
was filed electronically. Notice of this filing will be sent to the following party/parties through
the Court’s ECF System. Party/Parties may access this filing through the Court’s system:

          Leotis Williams, Debtor’s Counsel
          leotiswill@aol.com

          Bradford W. Caraway, Chapter 13 Trustee
          ctmail@ch13bham.com

          Office of the United States Trustee
          (registeredaddress)@usdoj.gov

I further certify that on September 1, 2021, a copy of the foregoing Notice of Mortgage Payment
Change was mailed by first-class U.S. Mail, postage prepaid and properly addressed to the
following:

          Darryl W. Crooms, Debtor
          1420 27th Street Ensley
          Birmingham, AL 35218

 Dated: September 1, 2021                         /s/ D. Anthony Sottile
                                                  D. Anthony Sottile
                                                  Authorized Agent for Creditor
                                                  Sottile & Barile, LLC
                                                  394 Wards Corner Road, Suite 180
                                                  Loveland, OH 45140
                                                  Phone: 513.444.4100
                                                  Email: bankruptcy@sottileandbarile.com




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